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HB sr__.%;'____._m

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UNITED sTATES DlsTRlCT COURT WW.@ M wm
WESTER_N DISTRICT OF TENNES SEE C|_EH(l U_S_ D£STR!CT mm
WID GF TN, MEW'BS
THOMAS M. GOULD, CLERK
167 North Main Street
Suite 242

Memphis, TN 38103
901-495-1200

August 16, 2005
Rhonda Wilson
706 Pendleton St.
Memphis, TN 38114
RE: Cash Appearance Bond

Our records indicate that you have requested a refund of the cash appearance bond posted
in case number 2:04cr20452. We will not be able to issue the refund at this time because:

B_The defendant has not fully complied with the requirements of said bond and orders of this
Court.

§Yours is not the name of the payee on the receipt.

Please feel free to contact our office With any questions regarding this matter at the address
or phone number listed above.

Thomas M. Gould,
Clerk of Court

BY: ' '
pu lerk

 

   

UNITED sTATE DRISTIC COURT - WETERN D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 2:04-CR-20452 Was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

 

 

E. Greg Gilluly

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

